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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

IN RE TORONTO-DOMINION BANK * 1:17-cv-1665 (NLH/JS)
SECURITIES LITIGATION

: Class Action

 

=| ORDER AND FINAL JUDGMENT

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On the 3% day of October, 2019, a hearing having been held before this Court to
determine, among other things: (1) whether the terms and conditions of the Stipulation of
Settlement dated June 20, 2019 (the “Stipulation”) are fair, reasonable, and adequate for the
settlement of all claims asserted by Plaintiffs and the Settlement Class in this Action (the
“Settlement”); and (2) whether to approve the proposed Plan of Allocation as a fair and
reasonable method to allocate the Net Settlement Fund among the Settlement Class Members;
and |

The Court having considered all matters submitted to it at the hearing and otherwise: and

It appearing that the Notice substantially in the form approved by the Court in the Court’s
Order Preliminarily Approving Settlement and Providing For Notice (“Preliminary Approval
Order”) was mailed to all reasonably identifiable potential Settlement Class Members; and

It appearing that the Publication Notice substantially in the form approved by the Court in
the Preliminary Approval Order was published in accordance with the Preliminary Approval
Order and the specifications of the Court;

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUGED, AND DECREED
THAT:

1. Unless indicated otherwise, capitalized terms used herein have the same meanings

defined in the Stipulation.

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2. The Court has jurisdiction over the subject matter of the Action, Plaintiffs, all
Settlement Class Members, and The Toronto-Dominion Bank (“TD”), Bharat B. Masrani
(“Masrani”), Riaz E. Ahmed (“Ahmed”), Colleen Johnston (“Johnston”), Teri Currie (“Currie”),
Leo Salom (“Salom”, Mike Pedersen (“Pedersen”), and Mark Chauvin (“Chauvin”)
(collectively, the “Settling Defendants”).

3, In the Preliminary Approval Order the Court certified, for purposes of the
Settlement only, the Action is a class action pursuant to Fed. R. Civ. P. 23(a) and (b)(3) on
behalf of the Settlement Class consisting of all persons or entities who purchased, or otherwise
acquired, U.S.-traded common stock of TD (NYSE: TD) between December 3, 2015 and March
9, 2017, both dates inclusive (the “Settlement Class Period”). Excluded from the Settlement
Class are Defendants; members of their immediate families and their affiliates; any executive
officer or director of TD during the Settlement Class Period; any entity in which any Defendants
had a controlling or partnership interest during the Settlement Class Period; the judges presiding
over the Action and the immediate family members of such judges; attorneys of record in the
Action; and the successors, heirs, and assigns of any excluded persons and/or entities referenced
above. Per the terms of the Stipulation, the Settling Defendants shall assist in identifying the
persons and entities to be excluded from the Settlement Class. Also excluded are those persons
who filed valid and timely requests for exclusion in accordance with this Order. If any persons
have filed such valid and timely requests for exclusion, they are set forth in Exhibit A hereto.

4. The Court hereby finds that the forms and methods of notifying the Settlement
Class of the Settlement and its terms and conditions met the requirements of due process and
Fed. R. Civ. P. 23 and Section 21D(a)(7) of the Exchange Act, 15 U.S.C. § 78u-4(a)(7), as

amended by the Private Securities Litigation Reform Act of 1995; constituted the best notice

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practicable under the circumstances; and constituted due and sufficient notice to all persons and
entities entitled thereto of these proceedings and the matters set forth herein, including the
Settlement and Plan of Allocation, to all Persons entitled to such notice. No Settlement Class
Member is relieved from the terms of the Settlement, including the releases provided for therein,
based upon the contention or proof that such Settlement Class Member failed to receive actual or
adequate notice. A full opportunity has been offered to the Settlement Class Members to object
to the proposed Settlement and to participate in the hearing thereon. The Court further finds that
the notice provisions of the Class Action Fairness Act, 28 U.S.C. § 1715, were fully discharged
and that the statutory waiting period has elapsed. Thus, it is hereby determined that all members
of the Settlement Class are bound by this Order and Final Judgment, except those persons listed
on Exhibit A to this Order and Final Judgment. All Proofs of Claim submitted by Settlement
Class Members that are received up to and including October 3, 2019 shall be considered timely
and shall be evaluated to determine whether they are otherwise valid.

5. The Settlement, whereby Settling Defendants shall cause to be paid per the terms
of the Stipulation an aggregate of thirteen million two hundred fifty thousand dollars
($13,250,000.00) is approved as fair, reasonable, and adequate and in the best interests of the
Settlement Class. Plaintiffs and the Settling Defendants are directed to consummate the
Settlement in accordance with the terms and provisions of the Stipulation.

6. Except with respect to persons who have validly and timely requested exclusion
from the Settlement Class (listed on Exhibit A), this Action is dismissed with prejudice as to the

Settling Defendants.

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7. Plaintiffs and the Settlement Class Members hereby release and forever discharge
the Settling Defendants and Released Parties from any and all Released Settlement Class Claims, -
whether or not such Plaintiff or Settlement Class Member returns the Proof of Claim or shares in
the Settlement Fund. Plaintiffs and the Settlement Class Members are hereby permanently and
forever enjoined from prosecuting, attempting to prosecute, or assisting others in the prosecution
of the Released Settlement Class Claims against the Settling Defendants and the Released
Parties, as set forth in the Stipulation. For purposes of this Order and Final Judgment:

a. “Released Settlement Class Claims” means any and all claims, whether
known or Unknown Claims, whether arising under state, federal, local,
common, statutory, administrative or foreign law, or any other law, rule or
regulation, at law or in equity, whether class or individual in nature, whether
accrued or unaccrued, whether liquidated or unliquidated, whether matured or
unmatured, that the Plaintiffs or any other Settlement Class members: (a)
asserted in the FAC; or (b) could have asserted in any court or forum that arise
out of or are based on the allegations, transactions, facts, matters or
occurrences, representations, or omissions set forth in the FAC and that relate
to the purchase or acquisition of shares of TD common stock on the New
York Stock Exchange (NYSE: TD) during the Settlement Class Period.
Released Settlement Class Claims shall exclude, inter alia, claims (i) asserted
in the Canadian Action, except to the extent that such claim(s) impermissibly
seek relief that is duplicative of the relief sought in this Action arising from
the Settlement Class’s purchases or acquisitions of the U.S.-traded common

stock of TD (NYSE: TD) during the Settlement Class Period that are

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encompassed within Settlement of this Action, (ii) relating to transactions in
TD’s common stock on non-U.S. exchanges, and/or (iii) relating to the
enforcement of the settlement.

b. “Released Parties” means each and every one of the following: (a) Defendant
TD, and its former or present parents, subsidiaries, divisions and affiliates,
and the respective employees, members, partners, principals, executive
officers, directors, controlling shareholders, attomeys, accountants, auditors,
and insurers; and Defendants Masrani, Ahmed, Johnston, Currie, Salom,
Pedersen, and Chauvin, and the predecessors, successors, estates, spouses,
heirs, executors, trusts, trustees, administrators, agents, legal representatives
and assigns of each of them, in their capacity as such, for the Released
Settlement Class Claims, and (b) Plaintiffs, Lead Counsel and Plaintiffs’ other
counsel, and the Settlement Class members for the Released Defendant
Claims.

8. Each of the Settling Defendants and the Released Parties hereby releases and
forever discharges any and all Released Defendant Claims against the Plaintiffs or any
Settlement Class Member, and any of their counsel including Lead Counsel. For purposes of this
Order and Final Judgment:

a. “Released Defendant Claims” means any and all counterclaims and bases for
relief, whether known or Unknown Claims, that the Released Parties could
have raised in the Action against the Plaintiffs, Lead Counsel or Plaintiffs’
other counsel, or any Settlement Class Member, whether arising under state,

federal, local, common, statutory, administrative or foreign law, or any other

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law, rule or regulation, at law or in equity, whether class or individual in
nature, whether accrued or unaccrued, whether liquidated or unliquidated,
whether matured or unmatured, which arise out of or relate to the
commencement, prosecution or settlement of the Action (except for claims to
enforce the Settlement) and claims for violations of Fed. R. Civ. P. 11 or any
other fee or cost-shifting claim.

9. Bar Order: All Persons are barred from commencing, prosecuting, or asserting
any Barred Claims (as defined below). All Barred Claims are hereby extinguished, discharged,
satisfied, and unenforceable. If any term of this Bar Order is held to be unenforceable after the
date of entry, such provision shall be substituted with such other provision as may be necessary
to afford all Released Parties the fullest protection permitted by law from any Barred Claim. For
purposes of this Order and Final Judgment:

a, “Barred Claim’ means any claim, if any, however styled, whether for
indemnification, contribution, or otherwise and whether arising under state,
federal, or common law, against the Settling Defendants or Released Parties
(including claims asserted by Released Parties against other Released Parties)
where the claim is or arises from a Released Claim and the alleged injury to
such Person arises from that Person’s alleged liability to the Settlement Class
or any Settlement Class Member, including any claim in which a Person seeks
to recover from any of the Released Parties (i) any amounts such person or
entity has or might become liable to pay to the Settlement Class or any

Settlement Class Member and/or (ii) any costs, expenses, or attorneys’ fees

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from defending any claim by the Settlement Class or any Settlement Class
Member.
10. Notwithstanding the foregoing, nothing in this Order and Final Judgment:

a. Will bar the Released Parties from pursuing claims that are outside the scope
of or independent of the Released Claims, including, without limitation, any
claim that any Released Party may have for indemnification related to costs
and expenses incurred in conjunction with the Action;

b. Will bar or constitute a release of any claim by any of the Released Parties for
insurance or reinsurance coverage arising out of, related to, or in connection
with this Action or the Released Claims; or

c. Shall prevent any Person listed on Exhibit A hereto from pursuing any claim
against any Released Party; if any such Person pursues any such claim against
any Released Party, nothing in this Order and Final Judgment or in the
Stipulation shall operate to preclude such Released Party from (i) asserting
any claim of any kind against such Person, including any Released Claim, (ii)
or seeking contribution or indemnity from any Person, including any other
Released Party, in respect of the claim made by a Person listed on Exhibit A.

11. Plaintiffs’ counsel are awarded attorneys’ fees in the amount of
$ Y ya, 2499.49 » and expenses in the amount of
¢ 2aG 195.41 , Such amounts to be paid from out of the Settlement
Fund ten (10) calendar days following the entry of this Order. Lead Counsel shall thereafter be
solely responsible for allocating the attorneys’ fees and expenses among other Plaintiffs’ counsel

in a manner in which Lead Counsel in good faith believe reflects the contributions of such

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counsel to the initiation, prosecution, and resolution of the Action. In the event that this
Judgment does not become Final, and any portion of the Fee and Expense Award has already
been paid from the Settlement Fund, Lead Counsel and all other plaintiffs’ counsel to whom

: Lead Counsel has distributed payments shall within ten (10) business days of entry of the order
rendering the Settlement and Judgment non-Final or notice of the Settlement being terminated or
precludes the Effective Date from occurring, refund the Settlement Fund the Fee and Expense
Award paid to Lead Counsel and, if applicable, distributed to other counsel.

12. Plaintiffs are each awarded the sum of $ l 5, 000 , as reasonable

 

costs and expenses directly relating to the representation of the Settlement Class, as provided in
15 U.S.C. § 78u-4(a)(4), such amounts to be paid from the Settlement Fund upon the Effective
Date of the Settlement.

13. The Court hereby finds that the proposed Plan of Allocation is a fair and
reasonable method to allocate the Net Settlement Fund among Settlement Class Members.

14, -The Court finds that all parties and their counsel have complied with each
requirement of Fed. R. Civ. P. 11 as to all proceedings herein.

15. Neither this Order and Final Judgment, the Preliminary Approval Order, the
Stipulation (including the exhibits thereto), the Memorandum of Understanding (“MOU”), nor
any of the negotiations, documents, or proceedings connected with them shall be deemed to be,
or be, argued to be offered or received: |

a. Against any of the Settling Defendants or the Released Parties as evidence of,
or construed as evidence of, any presumption, concession, or admission by
any of the Settling Defendants or the Released Parties with respect to the truth

of any fact alleged by the Plaintiffs in this Action or the validity of any claim

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that has been or could have been asserted against any of the Settling
Defendants or the Released Parties in this Action, or the deficiency of any
defense that has been or could have been asserted in the Action, or of any
wrongdoing or liability by any of the Settling Defendants or the Released
Parties;

b. Against any of the Settling Defendants or the Released Parties as evidence of,
or construed as evidence of, any presumption, concession, or admission of any
fault, misrepresentation, or omission with respect to any statement or written
document approved or made by any of the Settling Defendants or the Released
Parties;

c. Against any of the Settling Defendants, the Released Parties, the Plaintiffs, or
any Settlement Class Member as evidence of, or construed as evidence of, any
presumption, concession, or admission by any of the Settling Defendants, the
Released Parties, the Plaintiffs, or any Settlement Class Member with réspect
to any liability, negligence, fault, or wrongdoing as against any of the Settling
Defendants, the Released Parties, the Plaintiffs, or any Settlement Class
Member in any other civil, criminal, or administrative action or proceeding,
other than such proceedings as may be necessary to effectuate the provisions
of this Stipulation, provided, however, that if this Stipulation is approved by
the Court, the Settling Defendants, the Released Parties, the Plaintiffs, and any
Settlement Class Member may refer to it to effectuate the liability protection

granted them hereunder;

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d. Against any of the Settling Defendants or the Released Parties as evidence of,
or construed as evidence of, any presumption, concession, or admission by
any of them that the Settlement Amount represents the amount that could or
would have been received after trial of the Action against them;

-e. Against the Plaintiffs or any Settlement Class Member as evidence of, or
construed as evidence of, any presumption, concession, or admission by any
of the Plaintiffs or any Settlement Class Member that any of their claims are
without merit, or that any defenses asserted by the Settling Defendants, or any
other or former Defendants in the Action have any merit, or that damages
recoverable in the Action would not have exceeded the Settlement Fund;

f. Against the Plaintiffs or any Settlement Class Member or Lead Counsel as
evidence of, or construed as evidence of, any infirmity of the claims alleged
by the Plaintiffs in the FAC or the Action or of any lack of merit to the claims
or the Action or of any bad faith, dilatory motive, or inadequate prosecution of
the claims or the Action; or

g. As evidence of, or construed as evidence of, any presumption, concession, or
admission that class certification is appropriate in this Action, except for
purposes of this Settlement.

16. Notwithstanding the foregoing Paragraph 15, the Parties and other Released
Parties may file or refer to this Order and Final Judgment, the Stipulation, Preliminary Approval
Order, and/or any Proof of Claim Form: (a) to effectuate the liability protections granted

hereunder or thereunder, including, without limitation, to support a defense or counterclaim

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based on principles of res judicata, collateral ‘estoppel, release, good-faith settlement, judgment
bar or reduction, or any theory of claim preclusion or issue preclusion or similar defense or
counterclaim; (b) to obtain a judgment reduction under applicable law; (c) to enforce any
applicable insurance policies and any agiocments relating thereto: or (d) to enforce the terms of
the Stipulation and/or this Order and Final Judgment.

17, Exclusive jurisdiction is hereby retained over the Parties being released in
conjunction with the Settlement for all matters telating to the Action, including the
administration, interpretation, effectuation or enforcement of the Stipulations, or Settlement and
this Order and Final Judgment, and including any application for fees and expenses incurred in
connection with administering and distributing the Settlement proceeds to the Settlement Class
Members. Such jurisdiction shall terminate after the appeals period from the Court’s order
resolving Plaintiffs’ forthcoming motion to distribute the Net Settlement Fund has concluded.

18. Without further order of the Court, the Settling Parties may agree to reasonable
extensions of time to carry out any of the provisions in the Stipulation.

19, There is no just reason for delay in the entry of this Order and Final Judgment,
and immediate entry by the Clerk of the Court is directed pursuant to Fed. R. Civ. P. 54(b).

20. ‘The finality of this Order and Final Judgment shall not be affected, in any manner,
by any appeals concerning the Attorneys’ Fees and Expenses awarded herein, the compensatory
award to Plaintiffs, or the Plan of Allocation.

_21. In the event that the Settlement does not become Final and effective in accordance
with the terms and conditions set forth in the Stipulation, then the Stipulation, except as
otherwise provided in 92.14 and 8.3 therein, including any amendment(s) thereto, the

Preliminary Approval Order, as set forth in 28 thereof, and this Order and Final Judgment,

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except for {ff 14 and 20-22, shall be rendered null and void of no further force or effect, and all
Parties shall be deemed to have reverted nunc pro tunc to their respective status prior to the
execution of the MOU, and all Parties shall proceed in all respects as if the MOU and the
Stipulation had not been executed and the related orders had not been entered, without prejudice
in any way from the negotiation, fact, or terms of the Settlement, and preserving all of their
respective claims and defenses in the Action, and shall revert to their respective positions in the
Action. In such circumstances, all Parties shall thereafter work together to arrive at a mutually
agreeable schedule for resuming litigation of the Action.

22. In the event the Settlement and Judgment do not become Final or the Settlement is
terminated in accordance with the terms and conditions set forth in the Stipulation, within ten
(10) business days of entry of the order rendering the Settlement and Judgment non-Final or
notice of the Settlement being terminated, all monies then held in the Notice & Administration
Account and Settlement Fund, including interest earned, shall be returned to Settling Defendants’
insurance carrier(s) who paid such monies into the Settlement Fund, pro rata as had been paid by
them respectively, per their instructions except for any monies paid for Notice & Administration
Costs and Taxes. Under those circumstances, Lead Counsel shall undertake to return those
amounts by taking all steps necessary to cause the Escrow Agent to make the foregoing
repayments. Plaintiffs and the Settlement Class shall have no responsibility for the return of
such consideration.

23. Any Court orders entered during this Action relating to the confidentiality of

information shall survive this Settlement.

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24. " Pursuant to paragraph 2.7 of the Stipulation, the Court approves an additional
three hundred thousand dollars ($300,000. 00) be transferred from the Settlement Account to the
Notice & Administration’ Account to cover costs and expenses to deliver notice and settlement

administration.

Dated: Otoser 4 919

HON. NOEL L. HILLMAN
UNITED STATES DISTRICT JUDGE

 

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EXHIBIT A

Persons and Entities Excluded from the Settlement Class
Pursuant to Requests for Exclusion ~~
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TORONTO-DOMINION SECURITIES LITIGATION
EXCLUSION REPORT
(through 9/23/19)

 

    

Clara Lai Lam
John David Lam

 

 

 

 

 
